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 1
     Kenneth A. Gallo (pro hac vice)
 2   Joseph J. Simons (pro hac vice)
     Craig A. Benson (pro hac vice)
 3   PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
     2001 K Street, NW
 4   Washington, DC 20006-1047
     Telephone: (202) 223-7356
 5   Facsimile: (202) 223-7420
     Email: kgallo@paulweiss.com
 6   Email: jsimons@paulweiss.com
     Email: cbenson@paulweiss.com
 7
     Stephen E. Taylor (SBN 058452)
 8   Jonathan A. Patchen (SBN 237346)
     TAYLOR & COMPANY LAW OFFICES, LLP
 9   One Ferry Building, Suite 355
     San Francisco, California 94111
10   Telephone: (415) 788-8200
     Facsimile: (415) 788-8208
11   Email: staylor@tcolaw.com
     Email: jpatchen@tcolaw.com
12
     Attorneys for Plaintiffs Sharp Electronics Corporation,
13   Sharp Electronics Manufacturing Company of America, Inc.

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                                      UNITED STATES DISTRICT COURT
16
                                   NORTHERN DISTRICT OF CALIFORNIA
17
                                           SAN FRANCISCO DIVISION
18
     In re: CATHODE RAY TUBE (CRT) ANTITRUST                    Case No. 07-cv-05944 (SC)
19   LITIGATION
                                                                MDL No. 1917
20   This Document Relates To:                                  SHARP’S ADMINISTRATIVE
21                                                              MOTION TO FILE DOCUMENTS
     Sharp Electronics Corp., et al. v. Hitachi Ltd., et al.,   UNDER SEAL PURSUANT TO
     Case No. C 13-1173 (SC)                                    CIVIL LOCAL RULES 7-11 AND 79-
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                                                                5(b)
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                    SHARP’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL PURSUANT TO
            CIVIL LOCAL RULES 7-11 AND 79-5(b) -- Case Nos. 07-cv-5944, MDL No. 1917; Case No. 13-cv-1173
             Case 4:07-cv-05944-JST Document 2196 Filed 11/06/13 Page 2 of 3




 1                  Pursuant to Federal Rule of Civil Procedure 5.2(e) and Civil Local Rules 7-11 and

 2   79-5(b), Plaintiffs Sharp Electronics Corporation and Sharp Electronics Manufacturing Company of

 3   America, Inc. (collectively, “Sharp”), by and through their counsel, respectfully submit this

 4   Administrative Motion for a Sealing Order permitting Sharp to file the following documents under seal:

 5                  1. Exhibit A to the Declaration of Vince Sampietro in Support of Sharp’s Opposition to

 6   Toshiba Defendants’ Motion to Dismiss Sharp’s Complaint (a true and correct copy of the Purchase

 7   Order between Sharp Electronics Manufacturing Company of America, Inc. and Toshiba America

 8   Electronic Components, Inc.); and,

 9                  2. Exhibit A to the Declaration of Craig A. Benson in Support of Sharp’s Opposition to

10   Toshiba Defendants’ Motion to Dismiss Sharp’s Complaint (a true and correct copy of an excerpt of

11   Sharp’s Responses and Objections to Defendants Hitachi Electronic Devices (USA), Inc. and Samsung

12   SDI America, Inc.’s First Set of Interrogatories, dated July 22, 2013, which has been previously

13   designated by Sharp as “Confidential” pursuant to the Protective Order entered in this action) (“Sharp’s

14   Responses and Objections”).

15                  This motion is supported by the Declaration of Craig A. Benson in Support of Sharp’s

16   Administrative Motion to File Documents Under Seal Pursuant to Civil Local Rules 7-11 and 79-5(b),

17   dated November 6, 2013 (“Benson Declaration”). See Civ. L. R. 79(d)(1)(A).

18                  Civil Local Rule 79-5(b) states that a document may only be filed under seal “pursuant to

19   a court order that authorizes the sealing of the particular document . . . ” and requires the party seeking

20   to file a document under seal to show that the document contains information that “is privileged,

21   protectable as a trade secret or otherwise entitled to protection under the law.” Civil Local Rule 79-5

22   sets forth procedures applicable to the filing of sealed documents in civil cases.

23                  Sharp seeks to file the above material under seal in good faith, because there is a

24   “compelling reason” for doing so for these documents. Kamakana v. City & Cnty. Of Honolulu, 447

25   F.3d 1172, 1180 (9th Cir. 2006). A party meets the “compelling reasons” standard by presenting

26   “articulable facts” identifying the interests favoring filing a document under seal. Id. at 1181. As set
27 forth in the Benson Declaration, Sharp meets this standard because the Purchase Order contains

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                    SHARP’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL PURSUANT TO
            CIVIL LOCAL RULES 7-11 AND 79-5(b) -- Case Nos. 07-cv-5944, MDL No. 1917; Case No. 13-cv-1173
             Case 4:07-cv-05944-JST Document 2196 Filed 11/06/13 Page 3 of 3




 1   confidential, non-public information about Sharp’s business practices and relationship with the Toshiba

 2   Defendants that remain important to Sharp’s competitive position. Likewise, Sharp meets this standard

 3   as to Sharp’s Responses and Objections, because this document has been previously designated by

 4   Sharp as “Confidential” pursuant to the Protective Order under the standards developed under Fed. R.

 5   Civ. P. 26(c). As set forth in the Benson Declaration, Sharp’s Responses and Objections contain

 6   confidential, proprietary and highly sensitive business information, the disclosure of which presents a

 7   risk of undermining Sharp’s commercial relationships.

 8                 For these reasons, the standard for filing under seal is met in the present case and Sharp

 9   respectfully submits this motion pursuant to Civil Local Rule 7-11 and 79-5(b).

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11 Dated: November 6, 2013                 Respectfully submitted,

12                                         By:      /s/ Craig A. Benson

13                                                Kenneth A. Gallo (Pro Hac Vice)
                                                  Joseph J. Simons (Pro Hac Vice)
14                                                Craig A. Benson (Pro Hac Vice)
                                                  PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
15                                                2001 K Street, NW
                                                  Washington, DC 20006-1047
16                                                Telephone: (202) 223-7300
                                                  Facsimile: (202) 223-7420
17                                                Email: kgallo@paulweiss.com
                                                  Email: jsimons@paulweiss.com
18                                                Email: cbenson@paulweiss.com
19                                                Stephen E. Taylor (SBN 058452)
                                                  Jonathan A. Patchen (SBN 237346)
20                                                TAYLOR & COMPANY LAW OFFICES, LLP
                                                  One Ferry Building, Suite 355
21                                                San Francisco, California 94111
                                                  Telephone: (415) 788-8200
22                                                Facsimile: (415) 788-8208
                                                  Email: staylor@tcolaw.com
23                                                Email: jpatchen@tcolaw.com

24
                                                  Attorneys for Plaintiffs Sharp Electronics Corp. and Sharp
25                                                Electronics Manufacturing Company of America, Inc.

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                    SHARP’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL PURSUANT TO
            CIVIL LOCAL RULES 7-11 AND 79-5(b) -- Case Nos. 07-cv-5944, MDL No. 1917; Case No. 13-cv-1173
